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               NOT YET SCHEDULED FOR ORAL ARGUMENT


                                     No. 16-7078


                IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT


                                WILLIAM PIERCE,
                                   APPELLEE,

                                          v.

                            DISTRICT OF COLUMBIA,
                                  APPELLANT.


   ON APPEAL FROM A JUDGMENT OF THE UNITED STATES DISTRICT
             COURT FOR THE DISTRICT OF COLUMBIA


                         STIPULATION OF DISMISSAL


        Appellant District of Columbia and Appellee William Pierce, through

  their respective counsel, stipulate that this appeal shall be dismissed, with each

  party to bear its own attorneys’ fees and costs.
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              RESPECTFULLY SUBMITTED this 18th day of November, 2016.

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                          CERTIFICATE OF SERVICE

         I certify that on November 18, 2016, I electronically filed the foregoing
  with the Clerk of the Court for the United States Court of Appeals for the
  District of Columbia Circuit by using the appellate CM/ECF system.

        Participants in the case who are registered CM/ECF users will be served
  by the appellate CM/ECF system.

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